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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     FT. WORTH DIVISION


 EUGENIO VARGAS                       §
 Plaintiff/Counter-Defendant,         §
                                      §
                                      §
                                      §
                                      §
                                      §                   Case No. 4:22-CV00430
                                      §
 V.                                   §
                                      §
 ASSOCIATION OF PROFESSIONAL §
 FLIGHT     ATTENDANTS,         JULIE §
 HEDRICK AND ERIK HARRIS              §
 Defendants/Counter-Plaintiffs.       §
                                      §
                                      §

                            CERTIFICATE OF INTERESTED PARTIES

         COMES NOW, Plaintiff/Counter-Defendant, Eugenio Vargas, and hereby
certifies that the following persons or entities have a financial interest in the outcome
of this allegation are as follows pursuant to Fed. R. Civ. P. 7.1 and LR 3.1©, LR 3.2€,
L.R. 7.4, LR 81.1(a)(4)(D) and LR 81.2:


Date:                                      July 1, 2022

Plaintiff/Counter-Defendant:               Eugenio Vargas


Defendants/Counter-Plaintiffs: Association of Professional Flight Attendants


                                           Julie Hedrick at her place of employment APFA
                                           Headquarters


                                           Erik Harris at his place of employment APFA
                                           Headquarters


Certificate of Interested Parties 1 of 2
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                                           Respectfully submitted,
                                           K.D. PHILLIPS LAW FIRM, PLLC

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Certificate of Interested Parties 2 of 2
